      Case 19-02006-rlj      Doc 87     Filed 07/21/22 Entered 07/21/22 16:06:27             Desc Main
                                        Document      Page 1 of 4




The following constitutes the ruling of the court and has the force and effect therein described.



Signed July 21, 2022
                                           United States Bankruptcy Judge
______________________________________________________________________




                           IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE NORTHERN DISTRICT OF TEXAS
                                      AMARILLO DIVISION

     IN RE:                                        §
                                                   §
     MICHAEL STEPHEN GALMOR,                       §       CASE NO. 18-20209-RLJ-7
                                                   §
              Debtor.                              §
                                                   §
                                                   §
     In re:                                        §
                                                   §
     THE LIQUIDATION OF THE GALMOR                 §       ADVERSARY NO. 19-2006
     FAMILY LIMITED PARTNERSHIP and                §
     GALMOR MANAGEMENT, LLC,                       §

                        ORDER APPROVING MULTI-PARTY SETTLEMENT

              CAME ON FOR CONSIDERATION the Motion of Leslie Pritchard to Approve Multi-Party

     Settlement (the “Motion”), filed by Leslie Pritchard (“Pritchard”), the liquidator and manager of the

     Galmor Family Limited Partnership (“FLP”) and its general partner, Galmor Management, LLC

     (“GM), pursuant to a prior judgment of liquidation entered by this Court. By the Motion, Pritchard

     requests authority from the Court to enter into a multi-party settlement on behalf of the FLP and GM,

     (the “Proposed Settlement”), pursuant to that certain Mutual Settlement and Release Agreement



     ORDER APPROVING MULTI-PARTY SETTLEMENT—Page 1
Case 19-02006-rlj        Doc 87     Filed 07/21/22 Entered 07/21/22 16:06:27               Desc Main
                                    Document      Page 2 of 4



attached to the Motion as Exhibit “A” (the “Agreement”). Capitalized terms used in this Order and

not defined in this Order have the meanings assigned to them in the Agreement.

        No party objected to the Motion by the deadline under the Local Rules for so doing. Thus,

the Court deems the Motion unopposed. Based on the allegations in the Motion and the Court’s

familiarity with the underlying issues, and the Court’s approval of the Agreement in the related

bankruptcy case, the Court enters this Order.

        The Court concludes that it has jurisdiction over the Motion and that all interested parties have

consented to the Court’s entry of final orders and judgments in this Adversary Proceeding, even

though this Adversary Proceeding and the Motion are not core proceedings. Therefore, this Order is

a final order. The Court finds that Pritchard properly, duly, and timely provided notice of the Motion

to interested parties. And, based on representations in the Motion, the evidence, the Court’s

familiarity with the issues, and the fact that all seemingly interested persons agree to the Proposed

Settlement and are parties to the Agreement, that the Proposed Settlement and Agreement are proper,

necessary, fair, and appropriate, and represent proper and sound exercises of Pritchard’s business

judgment. As such, the Court finds and concludes that the Proposed Settlement and Agreement

should be approved. Accordingly, it is hereby:

        ORDERED that the Proposed Settlement and Agreement are APPROVED in all respects; it

is further

        ORDERED that Pritchard is authorized to execute and deliver the Agreement, whereafter the

Agreement shall control according to its terms and shall be binding on Pritchard, the FLP, and GM,

and all potential creditors, parties, and interested persons in this Adversary Proceeding, and Pritchard

is further authorized to deliver all documents and instruments and take all such other actions provided

for in the Agreement or necessary to implement the Agreement and to carry out her obligations under

the Agreement; it is further

ORDER APPROVING MULTI-PARTY SETTLEMENT—Page 2
Case 19-02006-rlj        Doc 87      Filed 07/21/22 Entered 07/21/22 16:06:27            Desc Main
                                     Document      Page 3 of 4



        ORDERED that all payments to be made under the Agreement are approved and that,

provided the Agreement is otherwise approved by this Court in the respective bankruptcy cases, Kent

Ries, Trustee (the “Trustee”) is ordered and directed to deliver the FLP Payment from the Real Estate

Proceeds to Pritchard as set forth in the Agreement, and Pritchard is authorized to make all

distributions and payments from the FLP Payment as provided for in the Agreement, including to

herself; it is further

        ORDERED that the G&G Payment shall be deemed for all purposes to be the payment by the

FLP of an alleged debt to the G&G Estate, and not a direct or indirect distribution from the FLP or

the Trusts, and the subsequent payment from the G&G Payment to RMG shall likewise not be deemed

a direct or indirect distribution from the FLP or the Trusts; it is further

        ORDERED that the Supplemental Pritchard Payment shall be deemed for all purposes to be

the payment by the FLP of debt claims to Pritchard for her prior, present, and future funding of the

FLP and compensation to her for her time, and not a direct or indirect distribution from the FLP or

the Trusts, but the Supplemental Pritchard Payment shall remain liable for all potential liabilities as

provided for in the Agreement, without prejudice to the rights of any alleged creditor of the FLP to

seek the full payment of any allowed claim from the FLP; it is further

        ORDERED that the payments by Pritchard from the FLP Payment of $150,000 each to

Pritchard, Coleman, and Zaointz shall be deemed for all purposes to have been made by the Trusts

to their beneficiaries, after a distribution by the FLP to the Trusts pursuant to the Trusts’ equity

ownership interests in the FLP; it is further

        ORDERED that the Trustee is released and discharged as co-liquidator of the FLP and that

he shall have no further obligations under that certain Agreed Judgment: (i) Ordering Supervised

Liquidation of Texas Entities; and (ii) Appointing Managers of the Same; and (iii) Severing

Remaining Claims [docket no. 26], including to provide any accounting or final report, and that he is

ORDER APPROVING MULTI-PARTY SETTLEMENT—Page 3
Case 19-02006-rlj                Doc 87   Filed 07/21/22 Entered 07/21/22 16:06:27       Desc Main
                                          Document      Page 4 of 4



hereby exculpated from any and all potential claims for negligence that may exist or be alleged with

respect to his liquidation of the FLP’s property, and that he shall be indemnified as provided in the

Agreement, and that, thereafter, Pritchard shall be the sole liquidator of the FLP and GM, including

with respect to any real property thereof; it is further

         ORDERED that nothing in this Order or in the Agreement shall prejudice any potential

alleged claim against the FLP, and all rights of any such potential claimant are preserved

notwithstanding anything contained in this Order or in the Agreement to the contrary; it is further

         ORDERED that the Court shall retain jurisdiction to the maximum extent possible to interpret

and enforce this Order and the Agreement.

                                          # # # END OF ORDER # # #




ORDER APPROVING MULTI-PARTY SETTLEMENT—Page 4
4878-1347-8432v.1 018939.00001
